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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE



In re:                                                     Chapter 11

Boy Scouts of America and                                  Case No. 20-10343 (LSS)
Delaware BSA, LLC,1                                        (Jointly Administered)

                       Debtors.                            Re: Docket No. 483


         ORDER AUTHORIZING THE OFFICIAL COMMITTEE OF UNSECURED
            CREDITORS TO EMPLOY AND RETAIN ALIXPARTNERS, LLP
          AS ITS FINANCIAL ADVISOR NUNC PRO TUNC TO MARCH 4, 2020

         Upon the application (the “Application”) of the Official Committee of Unsecured

Creditors (the “Creditors’ Committee”)2 appointed in the chapter 11 cases of the above-captioned

Debtors and Debtors-in-possession (the “Debtors”) for entry of an order (the “Order”), pursuant

to sections 328(a) and 1103 of title 11 of the United States Code (the “Bankruptcy Code”), Rules

2014 and 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and

Rules 2014-1 and 2016-1 of the Local Bankruptcy Rules for the District of Delaware (the “Local

Rules”), authorizing the Creditors’ Committee to employ and retain AlixPartners, LLP

(“AlixPartners” or the “Firm”) as the Creditors’ Committee’s financial advisor, nunc pro tunc to

March 4, 2020; and upon the Declaration of David MacGreevey (the “MacGreevey

Declaration”), which is annexed to the Application; and it appearing that this Court has


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  The Debtors in these chapter 11 cases, together with the last four digits of each Debtors’ federal tax
identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311).
The Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, TX 75038.

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 Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the
Application.
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jurisdiction to consider the Application pursuant to 28 U.S.C. §§ 157 and 1334; and it appearing

that venue of these chapter 11 cases and the Application in this district is proper pursuant to

28 U.S.C. §§ 1408 and 1409; and it appearing that this matter is a core proceeding pursuant to

28 U.S.C. § 157(b); and due and proper notice of the Application having been provided, and it

appearing that no other or further notice need be provided; and the Court having found the

Application is consistent with the Special Noticing and Confidentiality Procedures Orders; and it

appearing that AlixPartners is “disinterested” and eligible for retention pursuant to sections

101(14) and 328(c) of the Bankruptcy Code, the terms of the engagement pursuant to the

Engagement Letter and as modified herein, are reasonable and appropriate and this Court having

determined that the relief requested in the Application is in the best interests of the Debtors, its

estate, its creditors and other parties-in-interest; and after due deliberation, and sufficient cause

appearing therefor, it is hereby ORDERED that:

       1.      The Application is APPROVED solely to the extent set forth herein.

       2.      In accordance with sections 328(a) and 1103 of the Bankruptcy Code, the

Creditors’ Committee is authorized to employ and retain AlixPartners as its financial advisor in

connection with these chapter 11 cases nunc pro tunc to March 4, 2020, under the terms and for

the purposes set forth and as requested in the Application, the MacGreevey Declaration and the

Engagement Letter, as modified herein.

       3.      AlixPartners is authorized to perform the services enumerated in the Application,

the MacGreevey Declaration and the Engagement Letter. The terms of the Engagement Letter

are approved, and the Debtors shall be bound by such terms. AlixPartners shall be compensated

for the services identified in the Application, the MacGreevey Declaration and the Engagement




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Letter and reimbursed for out-of-pocket expenses incurred in connection with such services,

pursuant to section 328(a) of the Bankruptcy Code.

       4.      AlixPartners’ fees for services will be based on AlixPartners’ standard hourly

rates, plus reasonable and necessary expenses, as set forth in the Application, the MacGreevey

Declaration and the Engagement Letter.        AlixPartners shall apply for compensation and

reimbursement for out-of-pocket expenses incurred in connection with the Debtors’ chapter 11

cases, in compliance with Sections 328, 330 and 331 of the Bankruptcy Code, the applicable

provisions of the Bankruptcy Rules, the Local Bankruptcy Rules, and all applicable orders and

procedures as may be fixed by the Court, including the Order (1) Approving Procedures for (A)

Interim Compensation and Reimbursement of Expenses of Retained Professionals and (B)

Expense Reimbursement for Official Committee Members and (II) Granting Related Relief

[Docket No. 341] (the “Interim Compensation Procedures Order”), entered by the Court on

April 6, 2020, including the procedures for Monthly Fee Applications, as that term is defined in

the Interim Compensation Procudures Order.

       5.      AlixPartners shall comply will all requirements of Bankruptcy Rule 2016(a) and

Local Rule 2016-2, including all information and time keeping requirements of those rules.

       6.      Notwithstanding anything to the contrary in the Engagement Letter or the

Application, the following indemnification provisions are hereby approved, as modified and

restated herein, as follows:


                   a. AlixPartners (which, for the purposes of this ¶ 6 shall include its
                      principals, employees, representatives, agents and counsel) shall
                      not be entitled to indemnification, contribution or reimbursement
                      pursuant to the Engagement Letter for services, unless such
                      services and indemnification, contribution or reimbursement
                      therefore are approved by the Court;



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                  b. The Debtors shall have no obligation to indemnify AlixPartners, or
                     provide contribution or reimbursement to AlixPartners, for any
                     claim or expense that is either: (i) judicially determined (the
                     determination having become final) to have arisen from
                     AlixPartners’s gross negligence, willful misconduct, or bad faith;
                     (ii) for a contractual dispute in which the Creditors’ Committee or
                     the Debtors allege the breach of AlixPartners’s contractual
                     obligations unless the Court determines that indemnification,
                     contribution or reimbursement would be permissible pursuant to In
                     re United Artists Theatre Co., 315 F.3d 217 (3d Cir. 2003); or
                     (iii) settled prior to a judicial determination as to the exclusions set
                     forth in clauses (i) and (ii) above, but determined by this Court,
                     after notice and a hearing, to be a claim or expense for which
                     AlixPartners should not receive indemnity, contribution or
                     reimbursement under the terms of the AlixPartners Engagement
                     Letter as modified by this Order; and

                  c. If, before the earlier of (i) the entry of an order confirming a
                     chapter 11 plan in these cases (that order having become a final
                     order no longer subject to appeal), or (ii) the entry of an order
                     closing these chapter 11 cases, AlixPartners believes that it is
                     entitled to the payment of any amounts by the Debtors on account
                     of the indemnification, contribution and/or reimbursement
                     obligations under the Engagement Letter (as modified by this
                     Order), including without limitation the advancement of defense
                     costs, AlixPartners must file an application therefore in this Court,
                     and the Debtors may not pay any such amounts to AlixPartners
                     before the entry of an order by this Court approving the payment.
                     This subparagraph (c) is intended only to specify the period of time
                     under which the Court shall have jurisdiction over any request for
                     fees and expenses by AlixPartners for indemnification,
                     contribution, or reimbursement, and not to limit the duration of the
                     Debtors’ obligation to indemnify AlixPartners. All parties in
                     interest shall retain the right to object to any demand by
                     AlixPartners for indemnification, contribution, or reimbursement.
                     There shall be no limitation of liability in favor of AlixPartners
                     during the pendency of these chapter 11 cases.

                  d. Any limitation of liability or limitation on any amounts to be
                     contributed by the parties to the Engagement Letter under the
                     terms of the Engagement Letter shall be eliminated.

       7.     Notwithsanding anything to the contrary in the Application or the Engagement

Letter, during the course of the Debtors’ bankruptcy cases, AlixPartners shall not unilaterally

terminate its engagement under the Engagement Letter absent prior approval of the Court.

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       8.      The Creditors’ Committee and AlixPartners are authorized and empowered to

take all necessary actions to implement the relief granted in this Order.

       9.      AlixPartners shall use reasonable efforts to avoid any duplication of services

provided by any of the other retained professionals in these chapter 11 cases.

       10.     To the extent AlixPartners uses the services of independent contractors (the

“Contractors”) in these chapter 11 cases, AlixPartners shall: (a) pass through the cost of such

Contractors to the Debtors at the same rate that AlixPartners pays the Contractors; (b) seek

reimbursement for actual costs only; (c) ensure that the Contractors are subject to the same

conflict checks as required for AlixPartners; and (d) file with the Court such disclosures required

by Bankruptcy Rule 2014.

       11.     To the extent there is an inconsistency between this Order, the Engagement Letter

and the Application, the terms of this Order shall govern.

       12.     This Court shall retain jurisdiction with respect to all matters arising from or

related to this Order or AlixPartners’ services for the Creditors’ Committee.




                                                      LAURIE SELBER SILVERSTEIN
      Dated: May 23rd, 2020                           UNITED STATES BANKRUPTCY JUDGE
      Wilmington, Delaware                      -5-
